             Case 2:19-bk-14989-WB                   Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10                                       Desc
                                                      Main Document    Page 1 of 6



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
    Email Address
    Richard W. Esterkin, SBN 70769
    MORGAN, LEWIS & BOCKIUS LLP
    300 S Grand Ave Fl 22
    Los Angeles CA 90071-3132
    Tel: (213) 612-2500
    Fax: (213) 612-2501
    richard.esterkin@morganlewis.com




         Individual appearing without attorney
         Attorney for: Amazon Logistics, Inc.

                                          UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

    In re:                                                                       CASE NO.: 2:19-bk-14989-WB
                                                                                 CHAPTER: 11              (Jointly Administered with Case Nos.
                                     1                                                                    2:19-bk-14991 and 2:19-bk-14997)
             SCOOBEEZ, et al.,
                                                                                 AMENDED
                                                                                 NOTICE OF MOTION FOR:
                      Debtors and Debtors in Possession.                         AN ORDER: (A) DETERMINING THAT THE AUTOMATIC
                                                                                 STAY DOES NOT REQUIRE AMAZON TO UTILIZE
    _______________________________________                                      DEBTOR’S SERVICES, AND (B) MODIFYING THE
                                                                                 AUTOMATIC STAY
    Affects:
    ! All Debtors
    " Scoobeez, ONLY
                                                                                 (Specify name of Motion)
    " Scoobeez Global, Inc., ONLY
    " Scoobur LLC, ONLY                                                          DATE: 11/18/2019
                                                                                 TIME: 10:00 am
                                                                                 COURTROOM: 1375
                                                                                 PLACE: USBC - Edward Roybal Federal Building
                                                                                          255 E Temple St
                                                                 Debtor(s).               Los Angeles CA 90012

                       Debtors and Debtors in Possession, SCOOBEEZ, et alia,
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)

1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global,
Inc. (9779); and, Scoobur, LLC (0343). The Debtors! address is 3463 Foothill Boulevard, in Glendale, California 91214.

              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                Page 1                          F 9013-1.1.-*(1./,#NOTICE
       Case 2:19-bk-14989-WB                    Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10                                       Desc
                                                 Main Document    Page 2 of 6


4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 10/29/2019                                                               MORGAN LEWIS & BOCKIUS LLP
                                                                               Printed name of law firm




                                                                               /s/ Richard W. Esterkin
                                                                                Signature


                                                                               Richard W. Esterkin
                                                                               Printed name of attorney




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December 2012                                                        Page 2                             + '$%&"%#%#-*(1./,#/02.)*
     Case 2:19-bk-14989-WB                       Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10                                                Desc
                                                  Main Document    Page 3 of 6




                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius LLP
 300 S Grand Ave FI 22
 Los Angeles CA 90071-3132                                  AMENDED
A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 An Order: (A) Determining That the Automatic Stay Does Not Require Amazon to Utilize Debtor's Services, and (B)
 Modifying the Automatic Stay; Memorandum of Points and Authorities and Request to Take Judicial Notice in Support
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/29/2019 ,I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Service List, attached.



                                                                                       IZI Service     information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/29/2019 ,I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Conway MacKenzie, Inc.                Daimler Trust                              Levene Neale Bender Yoo & Brill LLP
333 SHope St Ste 3625                 c/o BK Servicing LLC                       10250 Constellation Blvd Ste 1700
Los Angeles CA 90071                  PO Box 131265                              Los Angeles CA 90067
                                       Roseville MN 55113-0011
                                                                                       o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/29/2019 ,I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St
Los Angeles CA 90012

                                                                                       D     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  10/29/2019        Renee Robles
 Date                      Printed Name                                                          Signature



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December 20 12                                                          Page 3                              F 9013-1,1 ,HEARING,NOTICE
Case 2:19-bk-14989-WB        Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10              Desc
                              Main Document    Page 4 of 6



2:19-bk-14989-WB Service List:

Richard T Baum on behalf of Stockholder Rosenthal Family Trust
rickbaum@hotmail.com, rickbaum@ecfinforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

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Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
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David Brian Lally on behalf of Attorney Grigori Sedrakyan
davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

Ashley M McDow on behalf of Debtor Scoobeez

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

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Case 2:19-bk-14989-WB        Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10        Desc
                              Main Document    Page 5 of 6


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Ashley M McDow on behalf of Plaintiff Scoobeez, Inc.

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc.
kmorse@clarkhill.com, blambert@clarkhill.com

Shane J Moses on behalf of Debtor Scoobeez
smoses@foley.com

Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
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Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com
Case 2:19-bk-14989-WB       Doc 402 Filed 10/29/19 Entered 10/29/19 16:44:10          Desc
                             Main Document    Page 6 of 6


Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
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bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
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calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

2:19-bk-14989-WB Notice will not be electronically mailed to:


Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067
